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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


JANEL GRANT,
                         Plaintiff,
                   v.
WORLD WRESTLING ENTERTAINMENT, INC.              Civil Action No.: 3:24-cv-00090
n/k/a WORLD WRESTLING ENTERTAINMENT,             (JAM)
LLC; VINCENT K. MCMAHON; and JOHN
LAURINAITIS,
                         Defendants.




 DEFENDANT WORLD WRESTLING ENTERTAINMENT, LLC’S MEMORANDUM
     OF LAW IN SUPPORT OF ITS MOTION TO COMPEL ARBITRATION




ORAL ARGUMENT REQUESTED
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               Defendant World Wrestling Entertainment, LLC (“WWE”) respectfully submits

this memorandum of law in support of its motion to compel arbitration.

                                PRELIMINARY STATEMENT

               Plaintiff Janel Grant brings this action against Vincent K. McMahon, John

Laurinaitis, and WWE alleging that, while employed at WWE, she was subjected to physical and

emotional abuse, sexual assault, and sex trafficking by McMahon and Laurinaitis. WWE disputes

Grant’s allegations. But, as a threshold matter, this dispute cannot be heard in court because Grant

agreed to arbitrate her claims. WWE therefore moves to compel this action to arbitration.

               Simply put, Grant has no claims actionable in this Court because the separation and

non-disclosure agreement she signed with McMahon (who signed on behalf of himself and WWE)

(the “Agreement”)—the monetary benefits of which she concededly accepted and retained—

contains an arbitration provision that unambiguously precludes this Court from adjudicating her

claims. In particular, Grant agreed that “the sole and exclusive legal method to resolve any and

all disputes and/or controversies is to commence binding arbitration under the Federal Arbitration

Act.” The language is clear and unconditional. Not only are Grant’s allegations squarely within

the scope of the arbitration provision, but the Agreement also expressly commits to arbitration the

issue of arbitrability itself. Accordingly, this Court should enforce the parties’ agreed-upon

method of addressing Grant’s claims and compel this action to arbitration.1




1
    If the court declines to compel arbitration, WWE plans to move to dismiss the Complaint,
    pursuant to Federal Rule of Civil Procedure 12(b)(6). See ECF No. 49 (ordering—before the
    stay in this matter was entered and the previously-filed motions to compel arbitration were
    dismissed without prejudice to refiling—that “[a]ny applicable deadline(s), pursuant to Federal
    Rule of Civil Procedure pleadings, including any motions pursuant to Federal Rule of Civil
    Procedure 12(b), shall be suspended pending the Court’s adjudication of Defendants’ motions
    to compel arbitration”).
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                                       BACKGROUND

               WWE disputes Grant’s allegations. But, for purposes of this Motion only, we

assume the truth of facts alleged in the Complaint. The Complaint also incorporates by reference

and attaches the Agreement, dated January 28, 2022, between Grant, McMahon, and WWE. See

Compl., Ex. A, No. 3:24-cv-00090-JAM, ECF No. 1-1.

               Grant’s Employment with WWE. Grant alleges that she met McMahon in March

2019 and, soon after, McMahon promised her “a yet-to-be-determined role at WWE.” See

Defendant World Wrestling Entertainment, LLC’s Local Rule 56(a)(1) Statement of Undisputed

Material Facts in Support of its Motion to Compel Arbitration (“SUMF”), ¶ 1.2 McMahon and

Grant began a sexual relationship in May 2019 and, on June 17, 2019, Grant began working in

WWE’s legal department in an “entry-level position as an ‘administrator-coordinator’” with a

starting salary of $75,000. SUMF ¶¶ 2, 3. On February 10, 2020, she was “temporarily relocated

to the XFL workforce.” SUMF ¶ 3. “On or around January 25, 2021,” Grant was reassigned to

support a high-ranking hire in WWE’s legal department. Id.

               In early March 2021, Grant was transferred to the Talent Relations department,

where she worked as a director of operations and reported to the head of the department, John

Laurinaitis. Id. Grant worked in Talent Relations for the remainder of her tenure at WWE.

               The Agreement. According to the Complaint, in early January 2022, McMahon

told Grant that his wife had found out about their relationship and threatened to divorce him.

SUMF ¶ 4. McMahon allegedly told Grant that “if she left WWE and signed an NDA,” his wife

would not leave him, and “Grant would avoid reputational harm.” Id. The Complaint claims that


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    As stated, in light of the fact that the parties have not undertaken discovery regarding the
    background events alleged in Plaintiff’s Complaint, WWE assumes the truth of those
    allegations for purpose of this Motion to Compel Arbitration.


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McMahon initially offered Grant $1 million in “exchange[] for the NDA.” SUMF ¶ 5. Grant

allegedly told McMahon that $1 million was not enough, and McMahon ultimately agreed to pay

Grant $3 million in installments. Id. On or about January 19, 2022, Grant retained counsel to help

her navigate her separation from WWE and to negotiate the proposed NDA. SUMF ¶ 6. Grant’s

counsel actively represented her interests during the course of the negotiations. SUMF ¶ 7.

               On January 28, 2022, McMahon and Grant executed the six-page Agreement, titled

the “Confidential Settlement Agreement, General Release and Covenant Not to Sue.” SUMF ¶ 8.

Grant and McMahon both signed the Agreement, with McMahon signing both on his own behalf

and, in his capacity as Chairman, on behalf of WWE. SUMF ¶ 9.

               Relevant here, the Agreement contains the following provisions:

               1. Grant’s Obligations: Resignation from WWE, Confidentiality, and Non-

Disparagement. Grant agreed to resign from her employment with WWE upon execution of the

Agreement. SUMF ¶ 10. And, in a section titled “Grant’s Consideration, Representation and

Warranties to McMahon and WWE,” Grant agreed: (i) to keep confidential her relationship with

McMahon and the existence and terms of the Agreement; and (ii) not to disparage McMahon or

WWE. SUMF ¶ 11.

               2. McMahon’s Payment Obligations.          In exchange for Grant’s promise of

confidentiality, McMahon assumed exclusive responsibility for paying Grant, in installments over

a four-year period, a total of $3 million. SUMF ¶ 12. As the first installment, McMahon agreed

to pay Grant $1 million within 10 days of execution of the Agreement. Id. McMahon committed

to make further payments of $500,000 each year, on February 1, for the next four years,

“[p]rovided all confidentiality obligations of Grant under this Agreement are complied with in

ensuing years.” Id. However, “[i]n the event of any disclosure by Grant of the matters required




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to be kept confidential under this Agreement,” the Agreement provides that “all monies previously

paid to Grant pursuant to this Agreement shall be returned to McMahon[.]” SUMF ¶ 13.

              In addition to monetary payments by McMahon, the Agreement provides, as

“Additional Consideration to Grant,” that WWE will provide a “positive evaluation and

recommendation to any . . . possible employer of Grant,” either via Laurinaitis or another WWE

employee. SUMF ¶ 14.

              3. Mutual Releases. The parties to the Agreement, including WWE, provided

mutual releases of any and all potential claims related to Grant’s and McMahon’s relationship and

Grant’s employment at WWE. SUMF ¶ 15.

              Grant’s release language reads:

              Except for any rights under this Agreement, and as otherwise stated
              herein, Grant hereby agrees to release, remise and forever discharge,
              and by these presents does, for herself, her heirs, executors, and
              administrators, release, remise and forever discharge McMahon,
              WWE, and the present, former and future directors, officers,
              employees, agents and representatives of WWE personally and as
              directors, officers, employees, agents and representatives of WWE
              from all manner of action and actions, causes of action, sums of
              money, covenants, contracts, controversies, agreements, promises,
              damages, claims and demands whatsoever, in law or in equity, that
              she ever had, may have had, now has or that her heirs, executors or
              administrators can, shall or may have as a result of, or in connection
              with her employment relationship with WWE, the termination
              of that employment relationship, and/or any and all matters
              involved in her relationship with McMahon and/or other WWE
              personnel, and whether known or unknown, asserted or unasserted,
              suspected or unsuspected which she may have as a result of any act
              which has occurred at any time up to and including the date of her
              execution of this Agreement.

SUMF ¶ 16 (emphasis added).

              The Agreement also provides that Grant “will not cause, and has not caused, to be

filed any legal actions, administrative proceedings, arbitrations or charges of any nature

whatsoever relating to McMahon or WWE concerning matters within the scope of this


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Agreement.” SUMF ¶ 17. Grant further “covenants and agrees that she will forever forbear from

pursuing any legal proceedings (except if necessary to enforce this Agreement), and that she will

not in any other way make any additional demand or claims against McMahon and/or WWE.”

SUMF ¶ 18.

               For the avoidance of doubt, Grant specifically agreed—in a passage set apart in all-

caps—that:

               BY SIGNING THIS AGREEMENT, GRANT ACKNOWLEDGES
               THAT SHE WILL HAVE WAIVED ANY RIGHT SHE MAY
               HAVE HAD TO PURSUE OR BRING A LAWSUIT OR MAKE
               ANY LEGAL CLAIMS AGAINST MCMAHON AND/OR WWE,
               AND/OR ANY OF ITS DIRECTORS, OFFICERS, EMPLOYEES,
               AGENTS AND REPRESENTATIVES.

SUMF ¶ 19.

               McMahon, on behalf of himself and WWE, provided a reciprocal release to Grant:

               McMahon and WWE, individually and jointly, for and in
               consideration of the representations, warranties and covenants of
               Grant contained herein, hereby release and forever discharge Grant,
               her heirs, executors, administrators, successors and assigns from any
               and all disputes and causes of action, claims, demands, suits,
               damages, attorneys’ fees, expenses, debts, contracts, agreements,
               and any and all other claims of any other nature whatsoever against
               Grant whether known or unknown or whether asserted or unasserted
               from the beginning of time to the date of execution of this
               Agreement, which McMahon and/or WWE might have or could
               claim against Grant.

SUMF ¶ 20.

               4. Agreement to Arbitrate. The Agreement provides that any dispute between the

parties must be resolved through informal discussion and, failing resolution, by arbitration.

Specifically, the parties must first attempt to resolve their dispute informally:

               In the event of any dispute arising under or out of this Agreement,
               its construction, interpretation, application, performance or breach,
               the parties agree to first attempt to resolve such disputes informally
               and prior to taking any formal legal action to resolve such disputes.


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SUMF ¶ 21.

               If the parties are unable to resolve their dispute informally, the matter must be

adjudicated in arbitration pursuant to the rules of the American Arbitration Association (“AAA”):

               In the event any such dispute cannot be resolved informally, all
               parties hereto agree that the sole and exclusive legal method to
               resolve any and all disputes and/or controversies is to commence
               binding arbitration under the Federal Arbitration Act pursuant to the
               procedures of the American Arbitration Association and to do so by
               sealed proceedings which preserve the confidential and private
               nature of this Agreement.

Id.

               5. Severability. If any part of the Agreement is found to be void or unenforceable,

the Agreement’s severability provision provides that the remainder of the Agreement will remain

in effect and enforceable:

               In the event that any provision of this Agreement is held to be void
               or unenforceable by any arbitration panel or court reviewing an
               arbitration decision, the remaining provisions shall nevertheless be
               binding provided, however, if any of the confidentiality obligations
               of this Agreement are ever contended to be unenforceable by Grant,
               or are found to be unenforceable by any tribunal, Grant agrees that
               she shall return all monies paid pursuant to this Agreement to
               McMahon.

SUMF ¶ 22.

               6. Additional Representations. Finally, Grant explicitly represented that “she is

able to read the language and to understand the meaning and effect of this Agreement.” SUMF

¶ 23. Moreover, Grant represented “that she has read and understands this Agreement and the

effect of it and that her attorney, Mr. Jonathan Shapiro, has explained it to her.” Id.

               Post-Agreement Events. Following execution of the Agreement, and pursuant to

its Section V, McMahon wired the initial payment of $1 million to Grant on February 4, 2022.

SUMF ¶ 24. McMahon also made additional payments not provided for in the Agreement.



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McMahon wired Grant $10,000 to cover her attorneys’ fees in connection with the Agreement,

SUMF ¶ 25, and paid for certain of her medical expenses until April 15, 2022, SUMF ¶ 26.

               On February 9 and 10, 2022, less than a week after receiving McMahon’s initial

$1 million payment, Grant provided notice to Laurinaitis and WWE’s Human Resources

department that she was leaving WWE. SUMF ¶ 27.

               On March 30, 2022, McMahon’s counsel notified Grant’s counsel of “an

anonymous email about the relationship between Ms. Grant and McMahon and Laurinaitis.”

SUMF ¶ 28.     Subsequently, in June and July 2022, various media stories were published

“regarding the matter of McMahon’s multiple NDAs with various women.” SUMF ¶ 29.

               Under the Agreement, McMahon’s second scheduled payment of $500,000 would

have been due on February 1, 2023, on the condition that “all confidentiality obligations of Grant

under this Agreement are complied with.” SUMF ¶¶ 12, 30. Grant alleges that McMahon did not

make this payment or any subsequent payment provided for under the Agreement’s payment

schedule. SUMF ¶ 31.

               Without first notifying WWE or attempting to resolve the dispute informally or

through arbitration, as required by Section X of the Agreement, Grant filed the Complaint on

January 25, 2024 and initiated the present lawsuit. SUMF ¶ 32.

               Pursuant to the Court’s May 8, 2024 scheduling order, WWE initially filed the

present Motion to Compel Arbitration on May 14, 2024. SUMF ¶¶ 33–34. Grant failed to file an

opposition to WWE’s Motion to Compel Arbitration by the June 4, 2024 deadline to do so. SUMF

¶ 34. On June 11, 2024, the Court entered an order staying this action until December 11, 2024

and denying all pending motions to compel arbitration “without prejudice to renewal within two




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weeks of any future order of the Court lifting the stay.” SUMF ¶ 35. Accordingly, WWE now

refiles an updated version of its Motion to Compel Arbitration. SUMF ¶ 36.

                                            ARGUMENT

                This action should be compelled to arbitration. The Agreement—which Grant

concededly negotiated, signed, and accepted the benefits of—contains a clear and unambiguous

arbitration provision. That provision requires not only that all claims Grant asserts here be decided

in arbitration, but also that the threshold question of the arbitrability of those claims be decided by

an arbitrator. The Court should grant WWE’s motion to compel arbitration and order that the

claims proceed to arbitration, as the parties intended and as the Agreement requires.

                Under the Federal Arbitration Act (“FAA”), “[a] written provision in . . . a contract

. . . to settle by arbitration a controversy thereafter arising out of such contract . . . shall be valid,

irrevocable, and enforceable.” 9 U.S.C. § 2. A party aggrieved by a “failure, neglect or refusal of

another to arbitrate under a written agreement for arbitration” may petition for “an order directing

that such arbitration proceed in the manner provided for in such agreement.” 9 U.S.C. § 4. The

FAA “leaves no place for the exercise of discretion by a district court, but instead mandates that

district courts shall direct the parties to proceed to arbitration on issues as to which an arbitration

agreement has been signed.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985).

Courts should “construe arbitration clauses as broadly as possible,” Oldroyd v. Elmira Sav. Bank,

134 F.3d 72, 76 (2d Cir. 1998), and “any doubts concerning the scope of arbitrable issues should

be resolved in favor of arbitration,” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460

U.S. 1, 24–25 (1983).

                In deciding motions to compel arbitration, courts follow a two-part test:

“(1) whether the parties agreed to arbitrate, and, if so, (2) whether the scope of that agreement




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encompasses the claims at issue.” Holick v. Cellular Sales of New York, LLC, 802 F.3d 391, 394

(2d Cir. 2015); see also Reale v. Match Grp., LLC, 2022 WL 4115660, at *3 (D. Conn. Sept. 9,

2022) (same). Once the moving party has shown, by a preponderance of the evidence, that “an

arbitration agreement exists,” the “burden shifts to Plaintiff” to show that “it did not consent to the

arbitration,” “the arbitration agreement is invalid or unenforceable,” or “the arbitration agreement

does not encompass its claims.” Aminoff & Co. v. Parcel Pro, Inc., 2022 WL 987665, at *3

(S.D.N.Y. Apr. 1, 2022) (citation omitted). “A court may not deny arbitration where there is a

valid arbitration agreement that covers the asserted claims.” Davis v. Macy’s Retail Holdings,

Inc., 2018 WL 4516668, at *2 (D. Conn. Sept. 19, 2018). In “resolving any ambiguities respecting

the enforceability or scope of an arbitration agreement,” the court must give “due regard” to the

[FAA’s] “national policy favoring arbitration.” Id.

                The application of these considerations requires arbitration of Grant’s claims.

I.     THE PARTIES UNAMBIGUOUSLY AGREED TO ARBITRATE

                Grant unquestionably entered into an agreement to arbitrate. “Whether or not the

parties have agreed to arbitrate is a question of state contract law.” Schnabel v. Trilegiant Corp.,

697 F.3d 110, 119 (2d Cir. 2012). “The essential terms of a valid contract are an offer, acceptance

of that offer, and consideration.” Davis, 2018 WL 4516668, at *3. “Fully executed contracts”

demonstrate the “required objective meeting of the minds.” Ipcon Collections LLC v. Costco

Wholesale Corp., 698 F.3d 58, 62 (2d Cir. 2012) (emphasis in original) (enforcing arbitration

provision despite party’s argument that the contract containing the clause was fraudulently

induced). Where the parties do not dispute that they entered an agreement to arbitrate, courts do

not question that agreement. See, e.g., Holick, 802 F.3d at 394 (“In this case, the parties agreed in

the Compensation Agreement to arbitrate. Thus, our discussion focuses on the scope of that

agreement.”).


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               There is no dispute here that the parties agreed to arbitrate. The Agreement contains

an arbitration clause. See SUMF ¶ 21. Grant represented in the Agreement that she “underst[ood]

the meaning and effect of this Agreement,” and that “her attorney, Mr. Jonathan Shapiro, ha[d]

explained it to her.” SUMF ¶ 23. And Grant acknowledges in her Complaint that she “signed the

[Agreement] in exchange for payments.” SUMF ¶ 31. The fully executed Agreement thus

demonstrates conclusively the required, objective agreement to arbitrate.

II.    THE AGREEMENT CLEARLY AND UNMISTAKABLY DELEGATES
       ARBITRABILITY TO THE ARBITRATOR

               The Court need not—and, indeed, should not—consider whether Grant’s claims

fall within the scope of the arbitration provision because the Agreement requires the issue of

arbitrability to be decided by an arbitrator.      “[P]arties may delegate threshold arbitrability

questions to the arbitrator, so long as the parties’ agreement does so by clear and unmistakable

evidence.” Henry Schein, Inc. v. Archer & White Sales, Inc., 586 U.S. 63, 69 (2019). In such

situations, a court must refer the matter to arbitration even before deciding whether the plaintiff’s

claims fall within the scope of the arbitration agreement. See, e.g., Dhue v. O’Reilly, 2018 WL

11222900, at *3 (S.D.N.Y. Oct. 10, 2018) (“We do not reach the merits of this argument [that this

dispute falls outside the scope of the agreement]. We instead conclude that the threshold question,

whether Plaintiff agreed to arbitrate this issue, must be decided by an arbitrator.”). The court “may

not override the contract, even if the court thinks that the arbitrability claim is wholly groundless.”

Henry Schein, Inc., 586 U.S. at 63.

               Where an agreement does not “directly state whether the arbitrator or the court will

decide the issue of arbitrability,” courts “look to other provisions of the agreement[] to see what

contractual intention can be discerned.” Metro. Life Ins. Co. v. Bucsek, 919 F.3d 184, 191 (2d Cir.

2019). Courts find “clear and unmistakable” evidence of the parties’ intent to delegate the question



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of arbitrability to an arbitrator “where a broad arbitration clause expressly commits all disputes to

arbitration, concluding that all disputes necessarily includes disputes as to arbitrability.” NASDAQ

OMX Grp., Inc. v. UBS Sec., LLC, 770 F.3d 1010, 1031 (2d Cir. 2014) (emphasis in original).

Courts also find such evidence “[w]here the parties explicitly incorporate procedural rules that

empower an arbitrator to decide issues of arbitrability,” because such incorporation can “serve as

clear and unmistakable evidence of the parties’ intent to delegate arbitrability to an arbitrator.”

DDK Hotels, LLC v. Williams-Sonoma, Inc., 6 F.4th 308, 318 (2d Cir. 2021) (citing the AAA

Commercial Arbitration Rules as an example); see also Offshore Expl. & Prod., LLC v. Morgan

Stanley Priv. Bank, N.A., 626 F. App’x 303, 305–06 (2d Cir. 2015) (affirming district court finding

that the question of arbitrability itself was arbitrable when the arbitration clause “cover[ed] all

disputes arising under an agreement and explicitly incorporate[d] rules that empower an arbitrator

to decide issues of arbitrability”); Simon J. Burchett Photography, Inc. v. Maersk Line Ltd., 2020

WL 8261580, at *6 (S.D.N.Y. Dec. 30, 2020) (report and recommendation); McCrae v. Oak Street

Health, Inc., 2024 WL 4692047, at *8–9 (S.D.N.Y. Nov. 4, 2024) (finding “the parties’ choice to

incorporate by reference the Rules of the American Arbitration Association” is “an example of

clear and unmistakable evidence” that “the parties intended that the question of arbitrability shall

be decided by the arbitrator”); Simon J. Burchett Photography, Inc. v. Maersk Line Ltd., 2021 WL

1040472, at *3 (S.D.N.Y. Mar. 18, 2021) (adopting report and recommendation and noting that

arbitration clause in settlement agreement “indisputably delegate[d] the question of arbitrability to

the arbitrator” when it covered “any dispute” and incorporated JAMS procedural rules (quoting

report and recommendation)).

               Here, the Agreement’s arbitration provision contains precisely these indicia of a

“clear and unmistakable” agreement to commit the issue of arbitrability to an arbitrator. First, the




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Agreement commands that “any and all disputes and/or controversies” shall be arbitrated. See

SUMF ¶ 21; NASDAQ OMX Group, 770 F.3d at 1031 (“[A]ll disputes necessarily includes

disputes as to arbitrability.” (emphasis in original)). Second, the arbitration provision instructs

that arbitration proceed “under the Federal Arbitration Act pursuant to the procedures of the

[AAA].” SUMF ¶ 21. As noted in DDK Hotels, the AAA procedures explicitly empower

arbitrators to decide issues of arbitrability. See, e.g., AAA Commercial Rule R-7 (“The arbitrator

shall have the power to rule on his or her own jurisdiction, including . . . the arbitrability of any

claim or counterclaim.”); AAA Employment Rule 6 (“The arbitrator shall have the power to rule

on his or her own jurisdiction, including any objections with respect to the existence, scope, or

validity of the arbitration agreement.”).

               The Court thus should grant the motion to compel arbitration without reaching the

question whether the arbitration agreement encompasses all of Grant’s claims, as that issue should

be adjudicated by the arbitrator. See, e.g., Reale, 2022 WL 4115660, at *7.

III.    IN THE ALTERNATIVE, THE COURT SHOULD FIND THAT GRANT’S
        LAWSUIT FALLS SQUARELY WITHIN THE SCOPE OF THE ARBITRATION
        PROVISION

               If the Court nonetheless decides to address the issue of arbitrability, it should still

compel arbitration because the claims and allegations in Grant’s Complaint fall squarely within

the scope of the Agreement’s arbitration provision.

               Courts rely on “[o]rdinary principles of contract law” to determine “whether the

parties consented to arbitrate a particular dispute.” Loc. Union 97, Int’l Bhd. of Elec. Workers,

AFL-CIO v. Niagara Mohawk Power Corp., 67 F.4th 107, 113 (2d Cir. 2023). If “the factual

allegations made in the plaintiff’s complaint . . . touch matters covered by the parties’ agreements,

then those claims must be arbitrated, whatever the legal labels attached to them.” Holick, 802 F.3d

at 395; see also, e.g., Watson v. USA Today Sports Media Grp., 2018 WL 2316634, at *2 (S.D.N.Y.


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May 8, 2018) (finding that arbitration clause covering “[a]ny dispute arising under this

Agreement” also covered claims “related to” the Agreement, even though it did not contain that

language).

                Where an arbitration agreement is contained within a settlement agreement, claims

are within its scope when they “fall within the [s]ettlement [a]greement’s definition of [c]laims

released” or when they relate to “a continuation or maintenance of past conduct covered by the

[s]ettlement [a]greement.” Simon J. Burchett Photography, Inc., 2020 WL 8261580, at *8 (report

and recommendation); Simon J. Burchett Photography, Inc., 2021 WL 1040472, at *3 (adopting

report and recommendation and noting that plaintiff’s “allegations are properly construed as ‘a

continuation or maintenance of past conduct covered by the Settlement Agreement’” (quoting

report and recommendation)); see also Ron v. Ron, 836 F. App’x 192, 196–97 (5th Cir. 2020)

(affirming that arbitration clause in settlement agreement applied to claims when the settlement

agreement jointly released “any and all claims” of the parties, and plaintiff’s complaint “repeatedly

referenced the [settlement agreement]”).        Indeed, whenever a release provision “potentially

disposes of [the plaintiff’s] claims,” courts require “arbitration concerning the effect of the release

on the plaintiff’s claims before allowing those claims to proceed in federal court.” Oriental

Republic of Uruguay v. Chem. Overseas Holdings, Inc., 2006 WL 164967, at *1, 6 (S.D.N.Y.

Jan. 24, 2006); see also S.E.C. v. Collector’s Coffee Inc., 2021 WL 1539225, at *5 (S.D.N.Y.

Apr. 19, 2021) (collecting cases); Syngenta Crop Prot., LLC v. Ins. Co. of N. Am., 2018 WL

1587601, at *1 (S.D.N.Y. Mar. 29, 2018) (“[D]isputes between the parties concerning the scope

and enforceability of the release must be submitted to an arbitrator in the first instance.”); Bangkok

Crafts Corp. v. Capitolo di San Pietro in Vaticano, 331 F. Supp. 2d 247, 257 (S.D.N.Y. 2004)

(“The dispute as to whether the release entered into . . . bars all of the claims asserted . . . shall be




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determined by arbitration in accordance with the terms of the release.”); Century Indemnity Co. v.

Viacom Intern., Inc., 2003 WL 402792, at *5 (S.D.N.Y. Feb. 20, 2003) (holding that whether a

settlement agreement released plaintiff’s claim was subject to arbitration under provision referring

to arbitrator “any dispute or claim in any way arising out of this Agreement”).

               Grant’s claims are well within the scope of the Agreement’s expansive arbitration

provision. The arbitration provision broadly applies to “any dispute arising under or out of this

Agreement, its construction, interpretation, application, performance, or breach,” and states that

the “sole and exclusive legal method to resolve any and all disputes and/or controversies” is

arbitration. SUMF ¶ 21. The Agreement, in turn, releases all claims arising “as a result of, or in

connection with [Grant’s] employment relationship with WWE, the termination of that

employment relationship, and/or any and all matters involved in her relationship with McMahon

and/or other WWE personnel.” SUMF ¶ 16. Grant’s claims plainly “touch matters covered by the

parties’ agreements,” Holick, 802 F.3d at 395, because they concern her “employment relationship

with WWE” and her “relationship with McMahon and/or other WWE personnel.” Indeed, the

Complaint’s allegations culminate in the negotiation and execution of the Agreement itself. See

SUMF ¶¶ 4–9. The viability of Grant’s claims, in light of the broad release provisions, is thus a

question of the construction and application of the Agreement—issues committed to arbitration by

the plain language of the arbitration provision. Accordingly, Grant’s claims fall squarely within

the scope of the arbitration clause and must be arbitrated.

IV.    ANY CHALLENGES TO THE VALIDITY OF THE CONTRACT MUST BE
       DIRECTED TO AND DECIDED BY THE ARBITRATOR

               Grant’s scattershot challenges to the validity and enforceability of the Agreement

do not alter the Court’s obligation to direct these claims to arbitration. As the U.S. Supreme Court




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has ruled, because Grant’s challenges are to the Agreement as a whole, and not to the arbitration

provision specifically, those challenges must be heard by the arbitrator.

                Where an agreement contains an arbitration provision, courts decide issues of

contractual validity only if those challenges are directed “specifically [to] the validity of the

agreement to arbitrate.” Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 70 (2010). By

contrast, it is up to the arbitrator to decide “challenge[s] to the validity of the contract as a whole.”

Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 449 (2006); see also Arrigo v. Blue Fish

Commodities, Inc., 408 Fed. App’x 480, 482 (2d Cir. 2011) (“[U]nless the challenge is to the

arbitration clause itself, the issue of the contract’s validity is considered by the arbitrator in the

first instance.” (quoting Buckeye, 546 U.S. at 445–46)); D’Antuono v. Service Rd. Corp., 789

F. Supp. 2d 308, 319 (D. Conn. 2011) (Because “[a]n arbitration provision is severable from the

remainder of the contract[,] the issue of the contract’s validity is usually considered by the

arbitrator.”); Dowe v. Leeds Brown Law, P.C., 419 F. Supp. 3d 748, 759 (S.D.N.Y. 2019) (“A

court may consider a claim of fraud in the inducement of the arbitration clause itself, but claims of

fraud in the inducement of the contract generally are for arbitrators to decide.”).

                Grant’s Complaint raises a number of cursory challenges to the validity of the

Agreement as a whole, and specifically to the confidentiality provision of the Agreement. See

Compl. ¶¶ 258–64, 271–84. But none of these challenges is “directed specifically” to the

Agreement’s arbitration provision. Rent-A-Center, 561 U.S. at 71. Indeed, Grant does not even

mention the Agreement’s arbitration provision anywhere in her Complaint, let alone assert that it

is in any way void or unenforceable. Accordingly, these challenges to the Agreement must be

decided by the arbitrator, not the Court.




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V.      THE COURT SHOULD STAY ANY REMAINING CLAIMS PENDING
        ARBITRATION

                For the reasons detailed above, the entirety of Grant’s Complaint is subject to the

Agreement’s arbitration provision and should be referred to arbitration. To the extent that the

Court declines to refer any particular claims or allegations to arbitration, litigation of those claims

or allegations should be stayed pending resolution of the arbitration.

                Courts have discretion to stay proceedings “where some but not all claims are

referable to arbitration.” Katsoris v. WME IMG, LLC, 237 F. Supp. 3d 92, 110 (S.D.N.Y. 2017).

In deciding whether to stay remaining claims, courts consider “economy of time and effort for [the

court], for counsel, and for litigants,” as well as “the desirability of avoiding piecemeal litigation

and the degree to which the cases necessitate duplication of discovery or issue resolution.” Id. A

stay is “particularly appropriate where there is significant factual overlap between the remaining

claims and the arbitrated claims,” in part because “the prior litigation or arbitration is likely to have

preclusive effect over some or all of the claims not subject to arbitration.” Id. at 110–11.

                Grant’s claims and allegations all relate to and stem from her relationship with

McMahon. Because the allegations are inextricably intertwined with one another, it would be

impossible to sever any allegations from the Complaint as a whole and to litigate those allegations

in isolation. It therefore would be inefficient to proceed with a parallel litigation of some of Grant’s

claims while the arbitration is pending. And it would risk inconsistent outcomes. As a result, if

the Court were to determine that any of Grant’s claims or allegations are not subject to arbitration,

litigation of those claims or allegations should be stayed pending resolution of the arbitration.

VI.     NO FEDERAL STATUTE PREVENTS ARBITRATION

                Finally, neither of the two federal statutes Grant references in her Complaint

impacts the arbitrability of her claims, nor would a separate federal statute, unmentioned in the



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Complaint, affect the relevant analysis. In determining whether to compel arbitration, courts

consider “whether Congress intended the federal statutory claims asserted by the plaintiff, if any,

to be non-arbitrable.” Billie v. Coverall N. Am., Inc., 444 F. Supp. 3d 332, 343 (D. Conn. 2020).

As the Supreme Court has instructed, “the party seeking to avoid arbitration bears the burden of

establishing that Congress intended to preclude arbitration of the statutory claims at issue.” Green

Tree Fin. Corp.-Alabama v. Randolph, 531 U.S. 79, 92 (2000) (citation omitted).               Such

congressional intent to overcome the FAA’s presumption of arbitrability must be shown by an

express “congressional command.” Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 233

(2013). No such intent exists here.

        A.     Speak Out Act

               Grant alleges that the Agreement as a whole is unenforceable under the Speak Out

Act. See Compl. ¶¶ 271–77. But the Speak Out Act concerns pre-dispute “nondisparagement”

and “nondisclosure” clauses. See 42 U.S.C. § 19401 et seq. It does not mention or concern

arbitration, and thus does not evince any congressional intent to preclude arbitration. Id. A claim

brought pursuant to the Speak Out Act therefore is still subject to the claimant’s agreement to

arbitrate.

        B.     Victims of Trafficking and Violence Protection Act of 2000 (“TVPA”)

               Grant also asserts violations of the TVPA. Compl. ¶¶ 287–305. The TVPA

likewise does not mention or refer to arbitration. See 18 U.S.C. § 1589 et seq. Nor is there any

indication in the TVPA’s legislative history that Congress intended claims brought under it to be

non-arbitrable. To the contrary, courts routinely find that TVPA claims are subject to arbitration.

See, e.g., Zendon v. Grandison Mgmt., Inc., 2018 WL 6427636, at *1, *2–3 (E.D.N.Y. Dec. 7,

2018) (granting motion to compel arbitration of TVPA and other claims against an employer

without reference to any effect of TVPA on arbitrability); Maity v. Tata Consultancy Srvs., 2021


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WL 6135939, at *1, *7 (D.N.J. Dec. 29, 2021) (granting motion to compel arbitration of TVPA

claims against an employer where there was a valid agreement to arbitrate); Cuenca-Vidarte v.

Samuel, 2021 WL 5742066, at *1, 12 (D. Md. Nov. 30, 2021) (granting motion to compel

arbitration of TVPA and other claims against an employer); Baricuatro v. Indus. Pers. & Mgmt.

Servs., 927 F. Supp. 2d 348, 351, 371 (E.D. La. 2013) (granting motion to compel arbitration of

TVPA and other claims and noting that plaintiffs “failed to present any argument suggesting” that

TVPA claims were not arbitrable).

       C.      Ending Forced Arbitration of Sexual Assault and Sexual Harassment Act
               (“EFAA”)

               Finally, although Grant does not raise it in her Complaint, to the extent she intends

to oppose arbitration based on the EFAA, that argument also would be unavailing.

               First, the EFAA applies only to pre-dispute arbitration agreements, which means

agreements “entered into prior to the dispute—the discriminatory conduct.” Castillo v. Altice

USA, Inc., 698 F. Supp. 3d 652, 657 (S.D.N.Y. 2023) (quoting Barnes v. Festival Fun Parks, LLC,

2023 WL 4209745, at *10 (W.D. Pa. June 27, 2023)). Indeed, the EFAA’s legislative history

makes clear that the Act was meant to target arbitration clauses in employment agreements entered

into before the alleged sexual assault or harassment occurred. See, e.g., 168 Cong. Rec. H983-09,

Testimony of Rep. Scanlon (“[The EFAA] would ban the use of forced arbitration in employment

contracts in cases of sexual assault and harassment.”); id., Testimony of Rep. Griffith (“[N]obody

signs on to an employment agreement thinking that oh, I am going to be sexually harassed. . . .

The handbook will then have buried in it language that says all disputes must go to mandatory

arbitration.”). Under the EFAA, a “‘dispute arises when the conduct which constitutes the alleged

sexual assault or sexual harassment occurs’ whereas ‘a claim accrues when the plaintiff has a

complete and present cause of action.’” Castillo, 698 F. Supp. 3d at 656–57 (quoting Barnes, 2023



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WL 4209745, at *10). “Courts have repeatedly rejected the notion that ‘disputes’ arise—and that

the EFAA applies—only when complaints or charges are filed.” Id. at 657 (collecting cases).

Here, only a few paragraphs of the Complaint’s lengthy factual recitation concern conduct post-

dating execution of the Agreement. See ¶¶ 225–29. The alleged conduct in these paragraphs post-

dates Grant’s employment at WWE and therefore is not viably asserted against WWE. Even if it

were, claims related to these post-Agreement allegations could not practically be litigated

separately from, and in parallel with, the pre-Agreement claims that are subject to arbitration.

                Second, the EFAA does not apply retroactively. Rather, it “applies only to claims

that accrued on or after March 3, 2022, the day President Biden signed the EFAA into law; it does

not have retroactive effect.” Johnson v. Everyrealm, Inc., 657 F. Supp. 3d 535, 550 (S.D.N.Y.

2023) (citing, inter alia, Pub. L. No. 117-90, § 3, 136 Stat. 26, 28 (2022)); Mitura v. Finco Serv.

Inc., 712 F. Supp. 3d 442, 451 (S.D.N.Y. 2024) (same); Edwards v. CVS Health Corp., 714

F. Supp. 3d 239, 242–43 (S.D.N.Y. 2024) (same). Only two paragraphs in the Complaint, ¶¶ 228–

29, involving explicit text messages with a “WWE Superstar,” concern alleged conduct post-dating

the effective date of the EFAA. Here, again, these post-employment allegations cannot be asserted

against WWE and could not be severed and litigated separately from the pre-March 3, 2022 claims

that unquestionably are outside the purview of the EFAA.

                                         CONCLUSION

                For the foregoing reasons, the Court should grant WWE’s motion to compel this

action to arbitration.




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Dated: December 23, 2024           Respectfully submitted,

                                   By: /s/ Daniel J. Toal

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                                 CERTIFICATE OF SERVICE

               I certify that on December 23, 2024, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by email to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s CM/ECF system.



                                              /s/ Daniel J. Toal
                                              Daniel J. Toal




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